Case 19-50508   Doc 18   Filed 04/16/19 Entered 04/16/19 17:59:17   Desc Main
                           Document     Page 1 of 6
Case 19-50508   Doc 18   Filed 04/16/19 Entered 04/16/19 17:59:17   Desc Main
                           Document     Page 2 of 6
Case 19-50508   Doc 18   Filed 04/16/19 Entered 04/16/19 17:59:17   Desc Main
                           Document     Page 3 of 6
Case 19-50508   Doc 18   Filed 04/16/19 Entered 04/16/19 17:59:17   Desc Main
                           Document     Page 4 of 6
Case 19-50508   Doc 18   Filed 04/16/19 Entered 04/16/19 17:59:17   Desc Main
                           Document     Page 5 of 6
Case 19-50508   Doc 18   Filed 04/16/19 Entered 04/16/19 17:59:17   Desc Main
                           Document     Page 6 of 6
